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                                                        6

                                                        7                          IN THE UNITED STATES DISTRICT COURT
                                                        8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                        9
                                                       10   UNITED STATES OF AMERICA,                        Case No. 2:12-cr-00238-MCE
                                                       11                   Plaintiff,
                                                       12           v.                                       STIPULATION AND ORDER
B ARTH T OZER & D AL Y LLP
                        S ACRAMENTO , C AL I FORNI A




                                                       13   NICHOLAS PERRY and ERIC
                            A TTORNE YS A T L AW




                                                            JOHNSTON,
                                                       14
                                                                            Defendant.
                                                       15
                                                                            It is hereby stipulated and agreed to between the United States of America
                                                       16
                                                            through KYLE REARDON, Assistant United States Attorney, and defendant, Nicholas
                                                       17
                                                            Perry, through his counsel, KRESTA DALY, and defendant Eric Johnston, through his
                                                       18
                                                            counsel Jan David Karowsky, that the status conference set for October 18, 2012 be
                                                       19
                                                            vacated. The parties request a new status hearing be set for December 13, 2012.
                                                       20
                                                                            All counsel require additional time for on-going negotiations.
                                                       21
                                                                            The parties stipulate time should be excluded pursuant to Local Code T4 for
                                                       22
                                                            preparation of counsel. The parties further stipulate this continuance is necessary in
                                                       23
                                                            furtherance of justice and outweighs the interests of the defendant and the public for a
                                                       24
                                                            speedy trial.
                                                       25
                                                            //
                                                       26
                                                            //
                                                       27
                                                            //
                                                       28
                  Case 2:12-cr-00238-TLN Document 19 Filed 10/17/12 Page 2 of 2


Dated: October 15, 2012.                          Respectfully submitted,
                                                  BARTH TOZER & DALY LLP

                                                  By       /s/ Kresta Nora Daly
                                                           KRESTA NORA DALY
                                                           Attorneys for ROBERT BAUER

Dated: October 15, 2012.                          By       /s/ Kresta Nora Daly for
                                                           Jan David Karowsky,
                                                           Attorney for ERIC JOHNSTON


Dated: October 15, 2012.                          By       /s/ Kresta Nora Daly for
                                                           KYLE REARDON,
                                                           Assistant United States Attorney


                                                        ORDER
                           For the reasons stipulated by the parties the status hearing set for October
18, 2012 is vacated. A status hearing will be set for December 13, 2012. The Court finds
excludable time through December 13, 2012 under Title 18, United States Code Section
(h)(7)(B)(iv) and Local Code T4 to allow for preparation and continuity of counsel. The
Court finds that the interest of justice served by granting the request outweighs the best
interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A),
(h)(7)(B)(iv).
                           IT IS SO ORDERED.


Dated: October 17, 2012

                                                       __________________________________
                                                       MORRISON C. ENGLAND, JR
                                                       UNITED STATES DISTRICT JUDGE

DEAC_Signatu re




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                                        OPPOSITION TO MOTION FOR APPOINTMENT OF RECEIVER
